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 Exhibit 1

                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No.: 1:18-cv-00987

 WILDERNESS WORKSHOP, et al.,

        Petitioners,

 v.

 U.S. BUR. OF LAND MGMT, et al.,

        Federal Respondents,

 and

 AMERICAN PETROLEUM INSTITUTE

        Intervenor Respondent


                                SETTLEMENT AGREEMENT


        Petitioners Wilderness Workshop, Center for Biological Diversity, Living Rivers:

 Colorado Riverkeeper, and Sierra Club (“Petitioners”) and Federal Respondents U.S. Bureau of

 Land Management (“BLM”) et al. (“Federal Respondents”) (together with Petitioners, “the

 Parties”) have reached an agreement to resolve this case, with the Parties agreeing to undertake

 and perform the measures set forth in this Settlement Agreement (“Agreement”).

        WHEREAS on April 26, 2018, Petitioners brought this action challenging BLM’s

 approval of 53 oil and gas leases in Western Colorado (the “subject leases”) through two



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 Decision Records, which approved lease auctions on December 8, 2016 and December 7, 2017,

 and where, Petitioners alleged violations of the National Environmental Policy Act (“NEPA”);

           WHEREAS, Federal Respondents deny any violation of law for the issuance of those

 leases;

           WHEREAS, the subject leases were sold at lease auctions held on December 8, 2016 and

 December 7, 2017;

           WHEREAS, the subject leases are located in areas managed pursuant to either the

 Colorado River Valley Field Office Resource Management Plan (“RMP”) or the Grand Junction

 Field Office RMP;

           WHEREAS, both the Colorado River Valley Field Office RMP and environmental

 impact statement (“EIS”) and the Grand Junction Field Office RMP and EIS have been

 challenged in federal court;

           WHEREAS, Federal Respondents are completing supplemental NEPA analysis for the

 Colorado River Valley Field Office RMP and EIS, pursuant to a settlement agreement reached in

 16-cv-1822, before this Court;

           WHEREAS, Federal Respondents have proposed to complete supplemental NEPA

 analysis for the Grand Junction Field Office RMP and EIS, in a pending motion for voluntary

 remand in 19-cv-2869, before this Court;

           WHEREAS, the Parties believe it is in the best interest of the public, the Parties, and

 judicial economy to resolve the claims in this case, and have reached agreement as to those

 claims and related issues as embodied in this Agreement.

           THEREFORE, the Parties agree as follows:


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     1) The Parties agree that BLM will complete a Supplemental EIS for the Colorado River

 Valley Field Office RMP and the Grand Junction Field Office RMP, observing all relevant

 procedural requirements in 40 C.F.R §§ 1500 et. seq., and pursuant to the terms of the settlement

 agreement for the Colorado River Valley RMP. The Parties recognize that this Court’s order

 resolving the pending motion for remand in the Grand Junction RMP litigation may impose

 additional requirements on BLM’s supplemental NEPA process.

     2) The Parties agree that following completion of that Supplemental EIS, BLM will

 determine what level of additional NEPA review, if any, is required to address the leasing

 decisions at issue in this case.

     3) Pending completion of points 1 and 2 above, including the completion of any additional

 NEPA review that BLM determines is required to address the leasing decisions at issue in this

 case, BLM agrees not to approve any Applications for Permits to Drill on the subject leases.

     4) Pending completion of points 1 and 2 above, including the completion of any additional

 NEPA review that BLM determines is required to address the leasing decisions at issue in this

 case, BLM will agree not to approve any new unitization actions on the subject leases. BLM

 agrees to notify Plaintiffs if and when they receive any requests from an operator for an

 extension or suspension of units that contain any of the challenged leases.

     5) The Parties agree that they will submit to the Court a stipulation of dismissal and

 proposed order dismissing the case with prejudice, pursuant to Fed. R. Civ. P. 41, within seven

 days of execution of this Agreement. The Court shall retain jurisdiction solely for the purposes of

 determining compliance with this Agreement and any motion for attorneys’ fees and costs filed

 by Petitioners in accordance with the Equal Access to Justice Act. In the event of a dispute


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 arising out of or relating to this Agreement, or in the event a party believes another party has

 failed to comply with any term or condition of this Agreement, the party raising the dispute or

 seeking enforcement shall provide the other parties with written notice of the claim. The Parties

 agree that they will meet and confer (either telephonically or in person) in a good faith effort to

 resolve any requests, disputes, or claims before seeking further relief. If the Parties are unable to

 resolve the request, dispute, or claim themselves within 60 days of the receipt of the written

 notice of a request, dispute or claim (or such longer time to which they agree), then the Parties

 may seek relief from this Court. The Parties agree that they will not seek contempt of court as an

 available remedy for any alleged violation of this Agreement, and the Parties therefore

 knowingly waive any right they might have to seek an order of contempt for any such alleged

 violation.

    6) The Parties agree that BLM will provide a status report on all the subject leases at issue

 in this case to the Parties prior to the finalization of this settlement agreement and provide the

 following information: a) whether the leases have been suspended, b) which leases have been

 included in units or communization agreements, c) whether the leases have wells drilled on them

 or into them, and what the API well numbers are, d) whether any wells are producing or have

 produced, e) who the leases holders are, and f) confirmation that rentals and royalties have been

 paid on the subject leases.

    7) Any future challenge to the adequacy of the leases following the completion of BLM’s

 supplemental NEPA analysis required by this Agreement must take the form of a new civil

 action under the judicial review provisions of the Administrative Procedure Act, and may not be

 asserted as a claim for violation of this Agreement or in a motion to enforce the terms of this


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 Agreement. Nothing in this Agreement precludes or limits Petitioners from raising any claims

 against the supplemental NEPA analysis or future decision documents relating to the subject

 leases.

    8) This Agreement is the result of compromise and settlement, and it is based on and limited

 solely to the facts involved in this case. This Agreement does not represent an admission by any

 party to any fact, claim, or defense concerning any issue in this case. Further, this Agreement has

 no precedential value and shall not be used as evidenced by any party in any other litigation

 except as necessary to enforce the terms of the Agreement.

    9) No provision of this Agreement shall be interpreted as, or constitute, a commitment or

 requirement that Federal Respondents take action in contravention of the Administrative

 Procedure Act, the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other law or regulation.

    10) The undersigned representatives of the Petitioners and Federal Respondents certify that

 they are fully authorized by the respective Parties whom they represent to enter into the terms

 and conditions of this Agreement and to legally bind such Parties to it.

    11) This Agreement contains all of the terms of agreement between the parties concerning the

 Petition, and is intended to be the final and sole agreement between the parties with respect

 thereto. The Parties agree that any prior or contemporaneous representations or understanding

 not explicitly contained in this written Agreement, whether written or oral, are of no further legal

 or equitable force or effect.

    12) This Agreement represents the entirety of the undersigned Parties’ commitments with

 regard to settlement. The Agreement is binding on Petitioners and Federal Respondents once

 signed by both parties.


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    Entered thisi_th day of January, 2021.

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